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TCA Fourth Semi-Annual Report 2s

introduction

This is the fourth six-month report (“Report”) of the Technical Compliance Advisor
(‘TCA’). The purpose of this Report is to measure the progress made by the Puerto Rico
Police Department (“PRPD”) in meeting the requirements outlined in the Agreement for
the Sustainable Reform of the Puerto Rico Police Department for the period from
December 9, 2015, through June 9, 2016. Pursuant to the terms of the Agreement, it is
the responsibility of the TCA to provide technical assistance and systematically review
Action Plans, policies, procedures, programs, protocols, training, and systems of the
PRPD; while measuring the nature and the extent of the PRPD’s compliance with the
terms set forth in the Agreement and the Action Plans.

This Report consists of three major sections. In the first section, the Report comments on
the PRPD’s Fourth Status Report (“Status Report”) documenting the PRPD’s
accomplishments and progress made from December 1, 2015, through May 15, 2016.
Consistent with Paragraph 250(a), this section also discusses the work conducted by the
TCA in the last six months, from December 9, 2015, through June 9, 2016. It focuses on
the work of the TCA in providing technical assistance to the PRPD, including work in the
development and review of policies and procedures, Action Plans, and training materiais.

In its second section, the Report emphasizes on the eleven (11) areas of the Agreement,
each requiring an individual Action Plan that delineates how and when PRPD will meet
the objectives of the Agreement. This process is consistent with the requirements of
Paragraph 250, subsections (b) through (d). In August 2015, the TCA and the United
Stated Department of Justice (“USDOJ”) approved four Action Plans: (1) Use of Force;
(2) Searches and Seizures; (3) Equal Protection and Non-Discrimination; and, (4) Civilian
Complaints, Internal Investigations, and Discipline. In February 2016, the TCA and the
USDOJ approved four additional Plans: (5) Professionalization; (6) Recruitment,
Selection, and Hiring; (7) Supervision and Management; and (8) Community Engagement
and Public Information. The final set of Action Plans are currently under review; namely,
the Action Plans on Policies and Procedures, Training, and Information Systems and
Technology. Once these Plans are approved, all required eleven (11) Action Plans will
be fully incorporated, enforceable by the terms of the Agreement and in compliance with
Paragraph 238.

In the third section, as required by Paragraph 250(e), the Report makes
recommendations for improvement wherever the TCA identifies gaps in policy and
practice in connection with the implementation of the Action Plans. The TCA makes
recommendations regarding any anticipated challenges or concerns related to the

OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

